Filed 05/15/20                                                              Case 20-90299                                                                       Doc 14

     Information to identify the case:
     Debtor 1                 Louie Augustine Enriquez                                                Social Security number or ITIN    xxx−xx−7631

                              First Name   Middle Name     Last Name                                  EIN   _ _−_ _ _ _ _ _ _
     Debtor 2                 Rosie Sifuentez Enriquez                                                Social Security number or ITIN    xxx−xx−5435
     (Spouse, if filing)
                              First Name   Middle Name     Last Name                                  EIN   _ _−_ _ _ _ _ _ _
     United States Bankruptcy Court        Eastern District of California
                                                                                                      Date case filed for chapter 13: 4/27/20
     Case number:          20−90299 − B − 13 G


                                                                                                                                                             12/15

     Official Form 309I
     Notice of Chapter 13 Bankruptcy Case Meeting of Creditors and Deadlines Due to COVID−19
     Outbreak

     For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
     been entered.
     This notice has important information about the Case for creditors, debtors, and trustees, including information about
     the meeting of creditors and deadlines. Read both pages carefully.

     The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
     from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
     deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
     otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
     may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
     Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §1328(f)
     must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have their debt
     excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
     information.)
     To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
     through PACER (Public Access to Court Electronic Records at www.pacer.gov).


    The staff of the bankruptcy clerk's office cannot give legal advice.

     To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
     Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
     filed with the court.
     Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
     a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
     with the court.

                                                      About Debtor 1:                                             About Debtor 2:
     1. Debtor's full name                            Louie Augustine Enriquez                                    Rosie Sifuentez Enriquez

     2. All other names used in the
        last 8 years
                                                      220 Dowitcher Dr.                                           220 Dowitcher Dr.
     3. Address                                       Patterson, CA 95363                                         Patterson, CA 95363
                                                      Lauren Franzella                                            Contact phone: 209−576−1701
     4. Debtor's  attorney
        Name and address
                                                      201 Needham St
                                                      Modesto, CA 95354

     5. Bankruptcy trustee                            Russell D. Greer                                            Contact phone: 209−576−1954
          Name and address                            PO Box 3051
                                                      Modesto, CA 95353−3051

     6. Bankruptcy clerk's office                     1200 I Street, Suite 4                                     Hours: M−F 9:00 AM − 4:00 PM
          Documents in this case may be filed         Modesto, CA 95354                                          www.caeb.uscourts.gov
          at this address. You may inspect all
          records filed in this case at this office   Mailing Address:
          or online at www.pacer.gov.
                                                      Robert T. Matsui United States Courthouse                  Phone: (209) 521−5160
                                                      501 I Street, Suite 3−200, Sacramento, CA
                                                      95814                                                      Date: 5/15/20
                                                                                                                       For more information, see page 2

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     Debtor Louie Augustine Enriquez and Rosie Sifuentez Enriquez                                                                               Case number: 20−90299 − B − 13 G

     7. Meeting of creditors                      June 10, 2020 at 10:30 AM                                                     Location:

         Debtors must attend the meeting The meeting may be continued or adjourned to a later date.                             By Telephone: 1−877−691−9878
         to be questioned under oath. In a If so, the date will be on the court docket.                                         Passcode: 2488085
         joint case, both spouses must
         attend. Creditors may attend, but                                                                                      Debtors are required to bring government
         are not required to do so.                                                                                             issued photo identification and proof of social
                                                                                                                                security number to the meeting.

     8. Deadlines                                 Deadline to file a complaint to challenge                                     Filing Deadline: 08/10/2020
                                                  dischargeability of certain debts:
         The bankruptcy clerk's office      You must file:
         must receive these documents
         and any required filing fee by the        • a motion if you assert that the debtors are not entitled to receive a discharge under U.S.C. § 1328(f)
                                                     or
         following deadlines.                      • If § 523(c) applies to your claim and you seek to have it excepted form discharge, you must start a
                                                            judicial proceeding by filing a complaint by the deadline stated above.
                                                  Deadline for all creditors to file a proof of claim (except Filing Deadline: 7/6/20
                                                  governmental units):
                                                  Deadline for governmental units to file a proof of claim: Filing Deadline: 10/26/20


                                                  Proof of claim:

                                                  A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                                  www.uscourts.gov or any bankruptcy clerk's office.

                                                  If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                                  a proof of claim even if your claim is listed in the schedules that the debtor filed.

                                                  Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                                  claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                                  For example, a secured creditor who files a proof of claim may surrender important non−monetary rights,
                                                  including the right to a jury trial.


                                                  Deadline to object to exemptions:                                             Filing Deadline:

                                                  The law permits debtors to keep certain property as exempt. 30 days after the conclusion of the meeting of
                                                  If you believe that the law does not authorize an exemption creditors
                                                  claimed, you may file an objection.
      9. Filing of plan                            The debtor has filed a plan.
                                                   A copy of the plan is enclosed. Objections to the confirmation of this plan must be filed and served by 06/17/2020. An objection shall
                                                   state with particularity the grounds therefor, be supported by evidence, and be accompanied by a notice of the confirmation hearing
                                                   on 07/07/2020 at 10:30 AM The objection and notice of hearing must be served on the debtor, the debtor's attorney, if any, and the
                                                   bankruptcy trustee. If a timely objection is not filed and served, no confirmation hearing will be conducted unless the court orders
                                                   otherwise. See Amended General Order 20−02 for more information regarding Objection to Confirmation deadline.

     10. Creditors with a foreign                  If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to extend the deadline in
                                                   this notice. Consult an attorney familiar with United States bankruptcy law if you have any questions about your rights in this case.
         address
     11. Filing a chapter 13                       Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts according to a plan. A plan is
                                                   not effective unless the court confirms it. You may object to confirmation of the plan and appear at the confirmation hearing. A copy of
         bankruptcy case                           the plan, if not enclosed, will be sent to you later, and if the confirmation hearing is not indicated on this notice, you will be sent notice
                                                   of the confirmation hearing. The debtor will remain in possession of the property and may continue to operate the business, if any,
                                                   unless the court orders otherwise.

     12. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and distributed to creditors, even if
                                                   the case is converted to chapter 7. Debtors must file a list of property claimed as exempt. You may inspect that list at the bankruptcy
                                                   clerk's office or online at www.pacer.gov. If you believe that the law does not authorize an exemption that debtors claimed, you may
                                                   file an objection by the deadline.

     13. Discharge of debts                        Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of a debt.
                                                   However, unless the court orders otherwise, the debts will not be discharged until all payments under the plan
                                                   are made. A discharge means that creditors may never try to collect the debt from the debtors personally
                                                   except as provided in the plan. If you want to have a particular debt excepted from discharge under 11 U.S.C. §
                                                   523(a)(2) or (4), you must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline.
                                                   If you believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                                   you must file a motion.
     14. Options to Receive Notices Anyone can register for the Electronic Bankruptcy Noticing program at ebn.uscourts.gov or debtors can register
         Served by the Clerk by     for DeBN by filing form EDC 3−321 Debtor's Electronic Noticing Request (DeBN) with the Clerk of Court. Both
                                    options are FREE and allow the Clerk to quickly send you court−issued notices and orders by email.
         Email Instead of by U.S.
         Mail




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